

Matter of Blake P. (Cynthia L.) (2023 NY Slip Op 02246)





Matter of Blake P. (Cynthia L.)


2023 NY Slip Op 02246


Decided on April 28, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 28, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, BANNISTER, MONTOUR, AND GREENWOOD, JJ.


370 CAF 21-01421

[*1]IN THE MATTER OF BLAKE P. GENESEE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CYNTHIA L., RESPONDENT-APPELLANT. (APPEAL NO. 3.)






LAW OFFICE OF VERONICA REED, SCHENECTADY (VERONICA REED OF COUNSEL), FOR RESPONDENT-APPELLANT.
DAVID J. PAJAK, ALDEN, FOR PETITIONER-RESPONDENT.
WILLIAM D. BRODERICK, JR., ELMA, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Genesee County (Sanford A. Church, A.J.), entered August 25, 2021 in a proceeding pursuant to Social Services Law § 384-b. The order, inter alia, terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: April 28, 2023
Ann Dillon Flynn
Clerk of the Court








